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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

CHRIMAR SYSTEMS, INC., et al.,                 §
                                               §
v.                                             §
                                               §     Civil Action No. 6:15-cv-163-JDL
ALCATEL-LUCENT ENTERPRISE,                     §
USA, INC.,                                     §
                                               §
                                               §
                                               §


                                               ORDER

       The Court prefers to resolve all post–trial issues, including motions under Rule 50 and

59, before entering a final judgment. The Court will deny as untimely any motion filed after the

Court enters Final Judgment if it could have been filed according to this Order. Accordingly, the

Court ORDERS all post–trial motions be filed by November 10, 2016, with responses, replies,

and surreplies to be filed in accordance with the local rules. This includes any amended findings

of fact and conclusions of law, as well as any brief on the issue of inequitable conduct, and any

disputes and briefing on prosecution laches.

       The Court further ORDERS that the following page limits shall apply: (1) a party’s

filings on November 10, 2016 shall not collectively exceed fifty pages, excluding attachments;

(2) a party’s responses shall not collectively exceed fifty pages, excluding attachments; (3) a

party’s replies shall not collectively exceed twenty pages, excluding attachments; and (4) a

party’s surreplies shall likewise not collectively exceed twenty pages, excluding attachments



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                So ORDERED and SIGNED this 11th day of October, 2016.
